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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES--GENERAL


Case No. EDCV 20-2157-JPR                       Date: November 4, 2021
Title: Robert C. Casillas v. Kilolo Kijakazi
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DOCKET ENTRY: Order Requiring Defendant to Show Cause
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PRESENT:
                   HON. JEAN P. ROSENBLUTH, U.S. MAGISTRATE JUDGE
                           Bea Martinez                            n/a
                           Deputy Clerk                       Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                     ATTORNEYS PRESENT FOR DEFENDANT:
      None present                                                 None present

PROCEEDINGS: (IN CHAMBERS)

        Under the terms of the Court’s October 22, 2020 case-management order,
Defendant was required to file the Joint Stipulation no later than October 25, 2021. To
date she has not done so, nor has she requested an extension of time. No later than seven
days from the date of this Order, Defendant must show cause in writing why she should
not be sanctioned $250 for failing to comply with a Court order. If within that time she
files the Joint Stipulation, the OSC will automatically be discharged.




MINUTES FORM 11                                           Initials of Deputy Clerk: bm
CIVIL-GEN
